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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,                                      8:18CR313

      vs.
                                                                      ORDER
DAVID GAMSO

                     Defendant.


       This matter is before the court on the defendant’s Unopposed Motion to Continue Trial
[31]. Counsel seeks additional time to conclude plea negotiations with the United States. For
good cause shown,


       IT IS ORDERED that the defendant’s Unopposed Motion to Continue Trial [31] is
granted as follows:

       1. The jury trial, now set for October 22, 2019, is continued to February 11, 2020.

       2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
          will be served by granting this continuance and outweigh the interests of the public
          and the defendant in a speedy trial. Any additional time arising as a result of the
          granting of this motion, that is, the time between today’s date and February 11,
          2020 shall be deemed excludable time in any computation of time under the
          requirement of the Speedy Trial Act. Failure to grant a continuance would deny
          counsel the reasonable time necessary for effective preparation, taking into account
          the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       Dated this 17th day of October 2019.




                                              BY THE COURT:

                                              s/Susan M. Bazis
                                              United States Magistrate Judge
